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                                            STATE OF NEW YORK
                                      OFFICE OF THE ATTORNEY GENERAL

     LETITIA JAMES                                                                        DIVISION OF SOCIAL JUSTICE
    ATTORNEY GENERAL                                                                                CIVIL RIGHTS BUREAU

                                                                                March 19, 2021
VIA CM/ECF
The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square, Courtroom 619
New York, NY 10007

           Re:      New York, et al. v. U.S. Department of Justice, et al., 18-cv-6471 (ER) (SDA)
                    City of New York v. Jefferson B. Sessions III, et al., 18-cv-6474 (ER) (SDA)
                    Joint Motion to Hold Proceedings in Abeyance

Dear Judge Ramos:

       All parties write jointly to move that the Court hold these matters in abeyance for 30 days
following the expected issuance of a mandate by the Second Circuit in this case.

        This litigation challenges grant conditions imposed in connection with Edward Byrne
Memorial Justice Assistance Grant (“Byrne JAG”) funding for Fiscal Years 2017,1 2018,2 2019,3
and 2020.4 On November 30, 2018, this Court entered partial summary judgment for the
Plaintiffs on their challenge to the 2017 conditions.5 The Plaintiff States then conditionally
accepted their 2017 Byrne JAG funding without agreeing to the challenged conditions.
Defendants appealed to the Second Circuit.6 Pending the appeal, several State Plaintiffs elected



1
 For a description of the challenged conditions for fiscal year 2017, see New York v. Dep’t of Justice, 343 F. Supp.
3d 213, 221-23 (S.D.N.Y. 2018).
2
 For a description of additional challenged conditions imposed in fiscal year 2018, see State and City Pls.’ Local
Rule 56.1 Statement of Undisputed Material Facts ¶¶ 215-244, New York v. Dep’t of Justice, 18-cv-06471-ER, ECF
No. 143-1 ¶¶ 215-244 (S.D.N.Y. 2018).
3
  For fiscal year 2019, the United States Department of Justice (“DOJ”) imposed immigration-related funding
conditions identical to those imposed in 2018. See generally Bureau of Justice Assistance (“BJA”) Fiscal Year 2019
Byrne JAG State Solicitation at 25-26, 30, https://bja.ojp.gov/funding/opportunities/bja-2019-15142.
4
 For fiscal year 2020, DOJ imposed immigration-related funding conditions identical to those imposed in 2018. See
generally      BJA     Fiscal   Year      2020     Byrne  JAG     Program      State      Solicitation  at    12,
https://bja.ojp.gov/funding/opportunities/bja-2020-17277.
5
    New York v. Dep’t of Justice, 343 F. Supp. 3d 213 (S.D.N.Y. 2018).



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to delay spending all of the 2017 funds received pursuant to a spending deadline extension
granted by the Bureau of Justice Assistance. Defendants and State Plaintiffs also agreed that
Byrne JAG funding from 2018, 2019, and 2020 “shall not be disburse[d], expend[ed], or
revert[ed] to the Treasury” for the duration of the pertinent stipulations,7 which still remain in
effect. Briefing on the parties’ cross-motions for partial summary judgment regarding the 2018
disputed conditions was complete on May 17, 2019, and the matter remains pending before this
Court.8

       On February 26, 2020, this Court’s grant of partial summary judgment on the 2017
conditions9 was reversed by the Second Circuit.10 The Second Circuit denied a petition for
rehearing en banc on July 13, 2020.11 On July 20, 2020, the Second Circuit entered a stay of its
mandate pending Plaintiffs’ filing of a writ of certiorari, and the Supreme Court’s determination
of any such petition.12 Plaintiffs filed petitions for writs of certiorari with the Supreme Court on
December 7, 2020.13

         A new federal administration took office on January 20, 2021. The parties stipulated to
dismissal of the petitions for writs of certiorari on March 4, 2021, which were dismissed on that
date.14 On March 9, 2021, the Second Circuit issued an order directing the parties to show cause
by March 19, 2021, as to why the mandate should not issue.15 The parties will be filing a joint
letter in the Second Circuit on or before March 19, 2021, advising the Second Circuit that they
plan to jointly move in this Court for an abeyance of the proceedings in this Court, and that they
therefore see no reason why the mandate should not issue.

       Accordingly, the parties jointly request that this matter be held in abeyance for thirty days
following issuance of the Second Circuit’s mandate. This Court “has broad discretion to stay

6
  Plaintiff City of New York accepted its funding for fiscal years 2017, 2018, 2019, and 2020 pursuant to an
injunction issued in the Northern District of Illinois in a case brought by the United States Conference of Mayors.
City of Evanston & Conference of Mayors v. Sessions, 18-cv-4853 (N.D. Ill. 2018).
7
 See Stipulations (Byrne JAG Fiscal Years 2018, 2019, and 2020), New York v. U.S. Dep’t of Justice, 18-cv-06471,
ECF No. 105 at 2, ECF No. 159 at 2, ECF No. 176 at 2 (S.D.N.Y.).
8
  Docket, New York v. Dep’t of Justice, 18-cv-06471-ER, ECF Nos. 132-144 (Pls.’ Mot. for Partial Summ. J.); ECF
Nos. 146, 151-153 (Defs’ Mot. to Dismiss or Alternatively for Partial Summary J.); ECF No. 154 (Plaintiffs’ Opp.
to Defs’ Motion to Dismiss or Alternatively for Partial Summ. J.); and ECF No. 157 (Defs’ Reply in Further Supp.
of Mot. to Dismiss or Alternatively for Partial Summ. J.) (S.D.N.Y. 2018).
9
    New York v. Dep’t of Justice, 343 F. Supp. 3d 213 (S.D.N.Y. 2018).
10
     New York v. Dep’t of Justice, 951 F.3d 84 (2d. Cir. 2020).
11
     New York v. Dep’t of Justice, 964 F.3d 150 (2d. Cir. 2020).
12
  See Order, New York v. Dep’t of Justice, 19-267, ECF No. 312 (2d. Cir. Jul. 20, 2020); Mot. Order, New York v.
Dep’t of Justice, 19-267, ECF No. 322 (2d. Cir. Oct. 9, 2020).
13
  See Petition by State Plaintiffs-Appellees, New York v. Dep’t of Justice, 20-795 (U.S. Supreme Court, Dec. 7,
2020).
14
  See Joint Stipulation to Dismiss, New York v. Dep’t of Justice, 20-795 (U.S. Mar. 4 2020); Dismissal of Petition,
New York v. Dep’t of Justice, 20-795 (U.S. Mar. 4 2020).
15
     Or. to Show Cause, New York v. Dep’t of Justice, 19-267, ECF No. 324 (2d. Cir. Mar. 9, 2020).

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proceedings as an incident to its power to control its own docket.”16 Providing the United States
Department of Justice additional time to conclude its review of the grant conditions at issue in
these proceedings will maintain the status quo and conserve both this Court’s and parties’
resources.17

                                                     Respectfully submitted,


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16
  Europcar Italia, S.p.A. v. Maiellano Tours, Inc., 156 F.3d 310, 316 (2d Cir. 1998) (quoting Clinton v. Jones, 520
U.S. 681, 706-07 (1997)); see also Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).
17
  See LaSala v. Needham & Co., 399 F. Supp. 2d 421, 427 (S.D.N.Y. 2005) (noting that a court is firmly within its
discretion, in the interest of judicial economy, to enter a stay pending the outcome of proceedings which bear upon
the case, even if such proceedings are not necessarily controlling of the action that is to be stayed).

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